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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

BLACKROCK ALLOCATION TARGET
SHARES: SERIES S PORTFOLIO, et al.,

Plaintiffs,
v. 14-CV-09371 (KPF)(SN)
WELLS FARGO BANK, N.A.,

Defendant.

 

 

STIPULATION AND [PROPOSED] ORDER
FOR DISMISSAL WITH PREJUDICE

WHEREAS, on November 19, 2018, the parties reported to the Court that this case has
been settled;

WHEREAS, on November 19, 2018, the Court entered the Order of Discontinuance,
conditionally discontinuing the action;

WHEREAS, on May 6, 2019, the Supreme Court of the State of New York approved the
parties’ Settlement and entered the Order and Final Judgment;

WHEREAS, the time to appeal the Order and Final Judgment in the Supreme Court of
the State of New York has expired;

NOW, THEREFORE, in consideration of the foregoing and the covenants set forth
herein, the Parties hereby stipulate and agree as follows:

1. All Plaintiffs and Defendant (each a “Party”) who have appeared in the above-
specified action, including the third party action entitled Wells Fargo Bank, National Association

v. BlackRock Advisors, L.L.C_, Case No. 14-cv-09371-KPF-SN (S.D.N.Y.) (the “Action”), by and
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through their respective counsel of record, hereby stipulate to dismissal of the Action with

prejudice. No Party shall seek from any other Party recovery of its costs or attorneys’ fees.

Dated: September 16, 2019

BERNSTEIN LITOWITZ BERGER
& GROSSMANN LLP

MC

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SO ORDERED:

Respectfully submitted,

   

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HON. KATHERINE POLK FAILLA
